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10                      UNITED STATES BANKRUPTCY COURT
11                      SOUTHERN DISTRICT OF CALIFORNIA
12   In re                                       Case Number: 20-06121-LT7
13
                                                 Chapter 7
14   OMEGA FAMILY SERVICES, LLC                  Honorable Laura S. Taylor
15
                          Debtor.                STIPULATION FOR ENTRY OF AN
16                                               ORDER FOR PRODUCTION OF
                                                 DOCUMENTS PURSUANT TO
17                                               FRBP 2004
18

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20           Debtor, Omega Family Services, LLC (“Debtor”), by and through its counsel
21   of record, William P. Fennell, Esq. of the Law Office of William P. Fennell, APLC
22   and Northwest Surrogacy Center by and through its counsel of record, Justin D.
23   Leonard, Esq. of Leonard Law Group LLC hereby enter into this Stipulation for Entry
24   of an Order for Production of Documents Pursuant to FRBP 2004.
25           1.    On December 23, 2020, Debtor filed a petition for relief under Chapter
26   7 of the Bankruptcy Code.
27           2.    Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure
28   (“Rule 2004”), Northwest Surrogacy Center seeks authority to require the Debtor to


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 1   produce its Errors and Omissions insurance policy issued by and through Nationwide
 2   National Casualty Company.
 3         3.     Debtor and Northwest Surrogacy Center have agreed to stipulate to
 4   entry of an order permitting the production of this document pursuant to Federal Rule
 5   of Bankruptcy Procedure 2004 with documents produced within 7 days of entry of
 6   the order approving this stipulation.
 7         IT IS SO STIPULATED.
 8                             LAW OFFICE OF WILLIAM P. FENNELL, APLC
 9

10   Dated: June 3, 2021              By: /s/William P. Fennell___________
                                      William P. Fennell, Esq.
11                                    Attorney for Debtor
12
                                      LEONARD LAW GROUP, LLC
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15   Dated: June __,
                 3 2021               By:                            ___________
                                      Justin D. Leonard, Esq.
16                                    Attorney for Northwest Surrogacy Center
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